UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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UNITED STATES OF AMERICA
ORDER
~v.-
$5 18 Cr. 834 (PAE)
DANIEL HERNANDEZ,
a/k/a “Tekashi 6ix 9ine,”
Defendant.
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WHEREAS on January 23, 2019, DANIEL HERNANDEZ, a/k/a “Tekashi
6ix 9ine,” the defendant, entered a plea of guilty to a nine-count
superseding information (the “Information”);

WHEREAS on January 23, 2019, the Court granted the
Government’s application to seal the waiver of indictment,
Information, and plea transcript associated with the defendant's
guilty plea (the “Sealing Order”);

WHEREAS the Court’s Sealing Order was limited to the time in
which the Government would seek to obtain a superseding indictment
and to arrest additional defendants charged in the superseding
indictment;

WHEREAS on January 28, 2019, a Grand Jury sitting in this
District returned Superseding Indictment S6 18 Cr. 834 (PAE);

WHEREAS on January 31, 2019, the Government applied to unseal

Superseding Indictment S6 18 Cr. 834 (PAE);
NOW THEREFORE IT IS HEREBY ORDERED that the Information, S5
18 Cr. 834 (PAE), waiver of indictment, and transcript of the

defendant’s January 23, 2019 plea, be unsealed.

Dated: New York, New York
February 1 , 2019

THE HONORABLE PAUL(A. EN@ELMAYER
UNITED STATES DISTRICT JUDGE
